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                                     IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF DELAWARE

        TRUEMAIL TECHNOLOGIES, LLC                         )
                                                           )
                       Plaintiff,                          )           C. A. No.: 17-1474-JFB-SRF
                                                           )
                                    v.                     )           JURY TRIAL DEMANDED
                                                           )
        HUBSPOT, INC.,                                     )
                                                           )
                       Defendant.                          )
                        JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE
                 Pursuant to Federal Rule of Civil Procedure 41(a)(1), Plaintiff TrueMail Technologies,

          LLC and Defendant HubSpot, Inc., by and through undersigned counsel, hereby stipulate that

          this action and all claims asserted therein be dismissed without prejudice, with each party

          bearing its own attorneys' fees, costs, and expenses.

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            /s/ Michael J. Farnan                                   /s/ Melanie K. Sharp
      ___________________________________                      ______________________________________
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                                                               Attorneys for HubSpot, Inc.
      Attorneys for TrueMail Technologies, LLC
                 SO ORDERED this 17th day of May, 2018.

                                                                  Senior United States District Judge


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